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IN THE UNITED STATES DISTRICT COURT f'“ )~~--

FOR THE wESTERN DISTRICT OF TENNESSEE
wESTERN DIVISION

 

 

UNITED S'I‘ATES OF AMERICA,
Plaintiff,

vs.

Cr. No. 95-20265-D

PETER MATHIS, JR. ,

Defendant.

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ORDER TO DOCKET MOTION AS NEW CASE
AND
ORDER TRANSFERRING MOTION UNDER 28 U.S.C. § 2244(b)(3)
TO SIXTH CIRCUIT COURT OF APPEALS

 

On January 20, 2005, defendant, Peter Mathis, Jr., Bureau of
Prisons (BOP) inmate registration number 14318-076, an inmate at
the Federal Correctional Institution (“FCI”) in Memphis,
Tennessee,1 filed an irregular motion in his closed criminal case.
(Docket entry 169) On August 4, 1993, defendant approached a
postal employee who was reading a magazine in her postal vehicle
near the end of her shift, told her he had a gun, and, after
forcing her to drive to a nearby secluded area, sexually assaulted

her. On August 24, 1993, a federal grand jury indicted defendant

 

l On September 24, 2004, the Court entered an order denying Mathis' pro

g motion for free transcripts and copies. For some unexplained reason, the
Clerk mailed a copy of the order to the attorney who represented Mathis on
appeal, rather than Mathis. The order was returned as undeliverable. As Mathis
has never received a copy of that order, the Clerk is ORDERED to enclose a copy
of that order, docket entry 167, with this order. The Clerk is ORDERED to send
the orders to Mathis at his FCI Memphis address.

This document entered on the docket Sheet in compliance
Wlth Huie 55 and/or 32(b} FRCrP on 5 "13“0,5 ®

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on one count of assault on a U.S. mail carrier with intent to rob
in violation of 18 U.S.C. § 2114.2 United States v. Mathis, No.
93-20226-Tu. A jury trial commenced on August 8, 1994 and, on
August 10, 1994 the jury returned a guilty verdict. Judge Jerome
Turner conducted a sentencing hearing on December 2, 1994, at which
time defendant was sentenced to the statutory maximum of 120 months
imprisonment. The Sixth Circuit reversed defendant's conviction on
the ground that there was insufficient evidence to prove he
intended to rob the postal employee of mail matter. United States
v. Mathis, No. 95-5042, 1995 WL 579563 (6th Cir. Oct. 2, 1995) (per
curiam).

Thereafter, on November 21, 1995, a federal grand jury
returned a two~count indictment charging defendant with kidnapping
a federal employee engaged in official duties for the purpose of
sexual assault, in violation of 18 U.S.C. § 1201(a)(5),3 and with

forcibly assaulting, impeding, and interfering' with a federal

 

2 Eighteen U.S.C. § 2114{a) providesr in relevant part: “Any person

who assaults any person having lawful charge, control, or custody of any mail
matter or of any money or other property of the United States, with intent to
rob, steal, or purloin such mail matter. money, or other property of the United
Statesr or robs or attempts to rob any such person of mail matter, or of any
money, or other property of the United States, shall, for the first offense, be
imprisoned not more than ten years."

3

Eighteen U.S.C. § 1201(a} providesr in relevant part: “Whoever
unlawfully seizes, confines, inveigles, decoys, kidnaps, abducts, or carries away
and holds for ransom or reward or otherwise any person . . . when . . . {5) the

person is among those officers and employees described in section 1114 of this
title and any such act against the person is done while the person is engaged in,
or an account of, the performance of official duties; shall be punished by
imprisonment for any term or years or for life.”

2

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employee engaged in the performance of official duties, in
violation of 18 U.S.C. § 111.4 Although defendant was originally
represented by counsel, he was eventually permitted to represent
himself in this matter. The case proceeded to trial on August 5,
1997. On August 8, 1997, the jury returned a guilty verdict with
respect to the first count of the indictment, which charged a
violation of 18 U.S.C. § 1201(a)(5), and a verdict of not guilty
with respect to the second count, which charged a violation of 18
U.S.C. § 111. The Court conducted a sentencing hearing on November
21, 1997, at which time defendant was sentenced to three hundred
eighty (380) months of incarceration, to be followed by a five-year
period of supervised release. Judgment was entered on November 24,
1997. The United States Court of Appeals for the Sixth Circuit
affirmed defendant's conviction and sentence. United States v.
Mathis, No. 97-6499, 1999 WL 98465 (6th Cir. Jan. 29, 1999), part4
denied, 528 U.S. 920 (October 4, 1999).

On August 22, 2000, Mathis filed a § 2255 motion
contending:

1) there is insufficient evidence to support the
guilty verdict;

 

4 Eighteen U.S.C. § lll{a) provides, in relevant part: “Whoever {1)

forcibly assaults, resists, opposes, or interferes with any person designated in
section 1114 of this title while engaged in or on account of the performance of
official duties . . . shall, where the acts in violation of this section
constitute only simple assault, be fined under this title or imprisoned.not more
than one year, or both, and in all other cases, be fined under this title or
imprisoned not more than three years, or both." Section 111(b) provides that
individuals who use a deadly or dangerous weapon in the commission of the offense
are subject to an enhanced penalty of up to ten years’ imprisonment.

3

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2) the prosecution of defendant on these charges was
motivated by vindictiveness because the Sixth
Circuit reversed defendant's conviction after the
first trial;

3) the Government violated 18 U.S.C. § 3161(b) by not
prosecuting these charges until after defendant's
original conviction was reversed b the Sixth
Circuit; and

4) the prosecution of defendant on these charges is
barred by double jeopardy and collateral estoppel.

The Court denied the motion as meritless the Sixth Circuit denied
a certificate of appealability. Mathis v. United States, 01-6335
(6th Cir. May 28, 2002), cert. denied, No. 02-6400 (October 21,
2002).

Defendant styled this document as a motion pursuant to Rule
60(b)(6) of the Federal Rules of Civil Procedure. Rule 60(b)(6) is
inapplicable, however, because the Federal Rules of Civil Procedure
do not apply to federal criminal prosecutions. The Sentencing
Reform Act of 1984 places strict limits on a court’s power to
modify a federal sentence. Eighteen U.S.C. § 3582(€) governs
modification of an imposed term of imprisonment and states as
follows:

The Court may not modify a term of imprisonment once it
has been imposed except that_

(1) in any Case"

(A) the court, upon motion of the Director of the
Bureau of Prisons, may reduce the term of
imprisonment, after considering' the factors set
forth in section 3553(a) to the extent that they
are applicable, if it finds that-

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(i) extraordinary and compelling reasons
warrant such a reduction;

(ii) the defendant is at least 70 years of
age, has served at least 30 years in prison,
pursuant to a sentence imposed under section
3559(c), for the offense or offenses for which
the defendant is currently imprisoned, and a
determination has been made by the Director of
the Bureau of Prisons that the defendant is
not a danger to the safety of any other person
or the community, as provided under section
3142(9);

and that such a reduction is consistent with
applicable policy statements issued by the
Sentencing Commission; and

(B) the court may modify an imposed term of
imprisonment to the extent otherwise expressly
permitted by statute or by Rule 35 of the Federal
Rules of Criminal Procedure; and

(2) in the case of a defendant who has been
sentenced to a term of imprisonment based on a sentencing
range that has subsequently been lowered by the
Sentencing Commission pursuant to 28 U.S.C. 994(0), upon
motion of the defendant or the Director of the Bureau of
Prisons, or on its own motion, the court may reduce the
term of imprisonment, after considering the factors set
forth in section 3553(a) to the extent that they are
applicable, if such a reduction is consistent with
applicable policy statements issued by the Sentencing
Commission.

None of the provisions of 18 U.S.C. § 3582(€) are applicable
here. The Director of the BOP has not moved for a reduction of the
defendant's sentence pursuant to § 3582(c)(1)(A). Neither Fed. R.
Crim. P. 35, nor any federal statute, authorizes the Court to
modify Mathis’ sentence pursuant to § 3582(c)(1)(B). §§§ §;g;,
Fed. R. Crim. P. 35 (district court may correct illegally imposed

sentence only within seven days after imposition of sentence).

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Finally, the Sentencing Commission has not lowered the applicable
Sentencing Range pursuant to 28 U.S.C. § 994(0), so as to bring
this Case within § 3582(€)(2).

For federal prisoners seeking to attack the validity of a
conviction or sentence, the only remedy is through a motion to
vacate under 28 U.S.C. § 2255. ln re Hanserd, 123 F.3d 922, 933
(6th Cir. 1997); United States v. Sarduy, 838 F.2d 157, 158 (6th
Cir. l988)(challenge to proper sentence calculation should be
brought under § 2255, not Rules 32 or 35). Mathis clearly seeks to
vacate his conviction and sentence. The motion, therefore, seeks
relief that is only available under § 2255.

Thus, the Court considers whether to consider defendant's
motion as a motion7 to vacate under 28 U.S.C. § 2255. The
Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No.
104-132, 110 Stat. 1214 (Apr. 24, 1996) (codified, ip;er alia, at
28 U.S.C. § 2244 et §§g;) (AEDPA), amended 28 U.S.C. §§ 2244(b) and
2255 to preclude the filing of any subsequent § 2255 motion absent
permission from the Court of Appeals for the Circuit in which the
district court is located. Under ln re Sonshine, 132 F.3d 1133,
1135 (6th Cir. 199?), the AEDPA amendments bar a prisoner from
filing a second § 2255 motion unless those amendments would have an
impermissibly retroactive effect on a claim for relief under §
2255. Under ln re Sims, 111 F.3d 45, 47 (6th Cir. 1997), "when a
second or successive . . . § 2255 motion is filed in the district

court without § 2244(b)(3) authorization from [the Sixth Circuit],

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the district court shall transfer the document to this court
pursuant to 28 U.S.C. § 1631." ldy

Under §im§, the Court construes the successive motion as a
request for certification of a successive motion. Accordingly, it

is hereby ordered pursuant to Sims and 28 U.S.C. § 1631 that the

 

Clerk of Court remove the motion (docket entry 169) from this
criminal case, docket the motion as a new case, and transfer it to
the United States Court of Appeals for the Sixth Circuit. The
Clerk shall place a copy of this order in the new case as well as
this criminal case.

The Clerk of Court is ORDERED not to accept for filing any
further documents in the new case or this case, however captioned
or described, unless directed to do so by an order from the United
States Court of Appeals for the Sixth Circuit. This case is being
transferred to that appellate court, and the defendant must obtain
relief from. that court to pursue any further attacks on, his

conviction here.

¢J,
:T rs so oRDERED this Z/ day of May, 2005.

RNICE B. DONALD
UNITED STATES DISTRICT JUDGE

 

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'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 170 in
case 2:95-CR-20265 Was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed.

 

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US DISTRICT COURT

